Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MARYLAND

JULIAN PEACOCK *
210 Clogg Drive
Dagsboro, Delaware 19939 *
and *
DENISE PEACOCK *
210 Clogg Drive
Dagsboro, Delaware 19939 *
Plaintiffs, *
v. * Case NO.:
PENH\ISULA REGIONAL MEDICAL CENTER *
100 East Carroll Street
Salisbury, Maryland 21801 *
SERVE ON: *
Daniel J. Mulvanny, Resident Agent
100 East Carroll Street *

Salisbury, Maryland 21801
and
PENINSULA REGIONAL HEALTH SYSTEM, INC.

100 East Carroll Street *
Salisbury, Maryland 21801

SERVE ON:

Daniel J. Mulvanny, Resident Agent *
100 East Carroll Street

Salisbury, Maryland 21801 *

775-001/137845 1

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 2 of 18

and *
JOHN R. MCLEAN, M.D. *
FCl Curnberland

Federal Correctional lnstitution *
14601 Burbridge Road, SE

Curnberland, l\/laryland 21502 *
and *

JOI-IN R. MCCLEAN, M.D. & ASSOCIATES *
No current business address

SERVE ON:
John R. McLean, l\/I.D. *
FCI Cumberland
Federal Correctional Institution *
14601 Burbridge Road, SE
Cumberland, Maryland 21502 *
Defendants. *
>»< >x< >x= >x< >x< * =z< a< >x= >)< =i= >x< >1<

COMPLAINT AND JURY DEMAND

Plaintiffs, Julian Peacock, lndividually and Denise Peacock as Husband and Wife, by and
through their attorneys Williarn H. Murphy, Jr., Richard V. Falcon, l\/lary Koch, Parnela J. Diedrich, and
Murphy, Falcon, & Murphy, P.A. hereby sue and bring the following medical negligence and fraud
claims against Defendants, Peninsula Regional l\/Iedical Center, Peninsula Regional Health System, Inc.
(collectively referred to as “PRMC”), John R. McLean, M.D., and John R. l\/[cLean, l\/I.D. & Associates

(collectively referred to Dr. l\/ICLean), and in support thereof state as follows:

775-001/137845 2

Case 1:12-c\/-02867-CCB Document 1 Filed 09/25/12 Page 3 of 18

CONDITION PRECEDENT

1. Plaintiffs have fully complied vvith the requirements of the Health Care Malpractice
Claims Act, Cts. & Jud. Proc. Code Ann. § 3-2A-01 et Seq. (1976, 2006 Repl. Vol.) prior to the

filing of this suit. [See Exhibit A.]
PARTIES, VENUE AND JURISDICTION

2. At all times relevant hereto, the Plaintiffs, Julian and Denise Peacock, have been
residents and citizens of the State of Delavvare residing at 210 Clogg Drive, Dagsboro, Delaware 19939.

They reside as husband and Wife.

3. At all times relevant hereto, the Defendants, Peninsula Regional l\/ledical Center and
Peninsula Regional Health System, Inc. (collectively referred to as “PRl\/IC”) have been corporations
organized in the State of Maryland involved in the operation of a hospital holding themselves out to the

public as offering quality health care delivered by competent and qualified health care professionals

4. At all times relevant hereto, Defendant PRMC operated a specialized Cardiac
Catheterization Lab Which Was held open to the general public. The Defendants afforded usage time
and staffing support by and through its actual and/or apparent agents, representatives or employees, to

Dr. John l\/IcLean and other interventional cardiologists Who held staff privileges

5. At all times relevant hereto, the Defendant PRl\/IC Was acting individually and/or by and
through its actual and/or apparent agents, representatives or employees, including but not limited to John

R. l\/chean, l\/I.D. and John R. l\/chean & Associates. As such, Defendant PRl\/IC is vicariously liable

775-001/137845 3

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 4 of 18

for the actions of its actual and/or apparent agents, representatives and/or employees, including but not

limited to John R. l\/chean, l\/I.D. and John R. l\/chean, M.D. & Associates.

6. At all times relevant hereto, Defendant John R. l\/IcLean, l\/I.D. was a resident and citizen
of the State of Maryland and regularly conducted his practice in Wicomico County, l\/laryland. As part
of his medical practice the Defendant held himself out to the Plaintiff and the general public as being
experienced and able in the area of interventional cardiology and possessing the degree of skill and
knowledge ordinarily possessed by those who devote their practice to interventional cardiology. As
such, Dr. l\/chean owed a duty to the Plaintiffs to render that degree of care and treatment ordinarily

rendered by a physician specializing in interventional cardiology.

7. At all times relevant hereto Defendant John R. l\/[cLean, l\/I,D. & Associates was a
professional association organized and operating under the laws of the State of Maryland with its
principal place of business in l\/laryland. As part of its business, the Defendant held itself out as a
professional association offering cardiology and related medical services and, in such capacity, held its
actual and/or apparent agents, representatives or employees as being competent and qualified to render
the care, treatment and other services within the ordinary standard of care for the respective services
which they provide. As such, Defendant John R. l\/IcLean, l\/I.D. & Associates is vicariously liable for
the actions of its actual and/or apparent agents, representatives and/or employees, including but not

limited to John R. l\/IcLean, l\/I.D.

8. At all times relevant hereto the actual and/or apparent agents, representatives and/or
employees of Defendant PRl\/IC, including but not limited to nurses, cardiac catheterization technicians,

respiratory therapists and radiology technicians, were present during each of the cardiac catheterizations

775~001/137845 4

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 5 of 18

and other cardiac procedures performed by Dr. l\/chean in the Cardiac Catheterization Lab; had access
and the ability to review the medical records of the patients undergoing cardiac catheterization by Dr.
l\/chean; conducted pre-procedure assessments and interviews of the patients undergoing cardiac
catheterization by Dr. McLean; assisted Dr. l\/chean in the performance of cardiac catheterizations and
other cardiac procedures; viewed and monitored the images of the heart and vascular system of each
patient who underwent cardiac catheterization and other procedures performed by Dr. l\/chean in the
Cardiac Catheterization Lab; and provided post-procedure care and treatment to patients who underwent

cardiac procedures by Dr. l\/chean in the Cardiac Catheterization Lab.

9. This medical negligence claim is instituted pursuant to l\/laryland Courts and J udicial

Proceedings Article § 3-2A-01 through § 3-2A10.
10. Jurisdiction of this Court is founded upon 28 U.S.C. § 1332.
1 1. The amount in controversy exceeds the jurisdictional minimum requirement of
$75,000.
12. Venue in this action lies in Maryland-Northern Division pursuant to 28 U.S.C.
§ 100(1) and§ 1391.
STATEMENT OF FACTS

13. On or about July 23, 2004, l\/Ir. Peacock presented to the Emergency Department at
BeeBe Medical Center complaining of chest pain, nausea and vomiting. Blood work done at that time

showed that l\/lr. Peacock had suffered a myocardial infarction (“l\/Il”). After being given maximal

775-001/137845 5

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 6 of 18

treatment to relieve the pain, the pain failed to subside. For that reason Mr. Peacock was transferred to

Peninsula Regional l\/Iedical Center in order to undergo a cardiac catheterization

14. On or about July 23, 2004, upon arrival at PRMC, Mr. Peacock was taken directly to the
cardiac catheterization lab where he Was seen by Dr. McLean. A cardiac catheterization] was
immediately performed. Dr. McLean recorded that l\/lr. Peacock had an eighty percent (80%) blockage
in the ramus intermedius coronary artery, with ninety percent (90%) diffuse disease in in the branch of
the ramus. At that time Dr. McLean placed one stent2 to open the blockage in the ramus. Following the
stenting procedure Mr. Peacock remained in the hospital until July 26, 2004, when he was discharged

home.

15. Approximately two months later, on or about September 19, 2004, l\/lr. Peacock presented
to the Emergency Department at PRMC complaining of chest pain. Mr. Peacock was admitted to the

hospital to be monitored

16. Serial lab work and electrocardiograms evidenced that Mr. Peacock did not suffer a MI

however on September 20, 2004, Dr. McLean once again performed a cardiac catheterization on l\/lr.

 

lCardiac Catheterization - an invasive imaging procedure that involves inserting a catheter into a blood
vessel in the arm or leg, and guiding it to your heart with the aid of a special x-ray machine. Contrast
dye is injected through the catheter so that x-ray movies of your valves, coronary arteries and heart
chambers are taken.

2 Stent - a small stainless steel mesh tube that acts as a Scaffold to provide support inside your coronary
artery. A balloon catheter, placed over a guide wire, is used to insert the stent into the narrowed
coronary artery. Once in place, the balloon tip is inflated, and the stent expands to the size of the artery
and holds it open. The balloon is deflated and removed, and the stent stays in place permanently. Over
a several-week period, your artery heals around the stent.

775-001/137845 6

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 7 of 18

Peacock noting that his left anterior descending artery was ninety-five percent (95%) blocked. At that

time Dr. McLean placed three stents in l\/lr. Peacock’s heart.

17. On or about September 22, 2004, Mr. Peacock was discharged horne with instructions to
return on October l, 2004, for another cardiac catheterization and possible re-dilatation of Mr. l

Peacock’s left anterior descending artery.

18. On or about October l, 2004, Mr. Peacock returned to PRMC for a cardiac
catheterization. During the procedure, a percutaneous transluminal coronary angioplasty (“P"l`CA”)3

Was performed; no stent was placed.

19. On or about July 18, 2006, Mr. Peacock was again admitted to PRMC for a cardiac
catheterization following a CardioloteTle scan4 that was reported to be abnormal At that time Dr.
McLean once again reported that Mr. Peacock had heart disease requiring stenting of the left anterior

descending artery, diagonal branch. Angioplasty was performed and a stent was placed

20. In the Spring of 2007 (believed to be in l\/Iarch), l\/lr. Peacock began to hear accounts and
read articles regarding the fraud committed by Dr. McLean relating to unnecessary cardiac testing and
stenting that he had performed When researching the matter he came across an article giving the

number of a call center at PRMC where patients could call for information Concerned that he may have

 

3 PCTA - Angioplasty ~ a specially designed balloon catheter with a small balloon tip is guided to the
point of narrowing in the artery. Once in place, the balloon is inflated to compress the fatty matter into
the artery wall and stretch the artery open to increase blood flow to the heart.

4 A CardioliteTl`/I scan is a medical imaging study of the heart conducted to look for signs of ischemia,
where blood flow is not reaching the heart muscle. ln a CardioliteTM scan, a radioactive tracer substance
is injected and followed as it is absorbed by the heart.

775-001/137845 7

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 8 of 18

had unnecessary cardiac testing and stenting, Mr. Peacock telephoned the call center to specifically ask
if the cardiac procedures and stents performed on him were necessary. After explaining his concerns to
the female who was the employee, actual or apparent agent, or representative of PRMC, who answered
the phone, l\/lr. Peacock was told that the matter would be investigated and that he could expect a return
call. The following day a female PRMC employee, actual or apparent agent, or representative called
l\/Ir. Peacock to inform him that the stenting procedures performed by Dr. McLean were indeed

necessary. Relying on the information given to him l\/lr. Peacock dismissed the matter.

21. On or about September 19, 2011, Mr. Peacock received a letter dated September 15,
201 l, from the Department of Justice informing him that a review of his medical records indicated that
cardiac stenting and certain other procedures performed on him at PRMC by Dr. McLean were
unnecessary. [See Exhibit B.] The letter to Mr. Peacock from the Department of Justice (“DOJ”) asked
him to complete an Impact Statement. The letter stated that it would be helpful to the Court to know the

impact that Dr. McLean’s crime had on Mr. Peacock.

22. The receipt of the letter from the DOJ was the first time that Mr. Peacock became aware
that there was any problem with the care he received by Dr. McLean and PRMC. The information came
as a shock to Mr. Peacock given the fact that he had inquired about his care in 2007 and was told by a
PRMC employee, actual or apparent agent or representative that the procedures and cardiac procedures

that had been performed were necessary.

775-001/137845 8

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 9 of 18

C()UNT I
Medical Negligence
(Against All Defendants)

Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in the preceding paragraphs as if fully set forth herein.

23. Defendants, Peninsula Regional Medical Center, Peninsula Regional Health System, Inc.,
John R. McLean, l\/l.D. and John R. McLean, M.D. & Associates individually and through their actual
and/or apparent agents, representatives and/or employees owed Mr. Peacock a duty to exercise that
degree of care and skill that a reasonably competent hospital, health care system and cardiologist and/or
similar Defendant would have exercised under the same or similar circumstances

24. At all times relevant hereto John R. McLean, l\/l.D. was acting as an actual or apparent
agent of Peninsula Regional Medical Center and Peninsula Regional Health System, Inc.

25. The Defendants individually and through their actual and/ or apparent agents,
representatives and/or employees breached the above described duty of care, thereby deviating from the
applicable standards of care and were otherwise negligent, careless, and reckless in that they performed
multiple unnecessary, invasive and painful cardiac catheterizations, cardiac stenting and angioplasty
procedures while failing to perform necessary cardiac intervention and treatment

26. As a direct and proximate result of the Defendants above mentioned deviations from the
applicable standards of care the Plaintiff, Julian Peacock, suffered unnecessary, significant, traumatic
and painful medical procedures, treatment and care; suffered an extension of heart muscle damage; will
likely be caused to undergo additional significant,’ traumatic and painful medical procedures, treatment
and care in the future; was caused to endure physical and emotional injury, trauma, upset and other

injuries in the future; suffered economic losses including but not limited to medical and other expenses,

775-001/137845 9

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 10 of 18

lost wages and earnings and other economic losses; and will likely suffer future economic losses
including but not limited to medical and other expenses, lost wages and earnings, and other economic
losses in the future.

27. The injuries and damages complained of were directly and proximately caused by the
negligence and lack of care of Defendants, Peninsula Regional Medical Center, Peninsula Regional
Health System, lnc., John R. McLean, M.D. and John R. McLean, l\/I.D. & Associates. The Plaintiff, in
no way, contributed to the negligence, but however, relied upon the expertise of Defendants, Peninsula
Regional l\/Iedical Center, Peninsula Regional Health System, Inc., John R. McLean, M.D. and John R.

l\/IcLean, M.D. & Associates for his care and treatment

WHEREFORE, Plaintiff Julian Peacock brings this action against Defendants, Peninsula
Regional Medical Center, Peninsula Regional Health System, lnc., John R. McLean, l\/I.D. and John R.
McLean, M.D. & Associates, jointly and/or severally, and seeks damages in excess of Thirty Thousand
Dollars ($30,000.00) that will adequately and fairly compensate him, costs, and such other and further

relief as may be deemed appropriate

COUNT II
Lack of Informed Consent
(Against All Defendants)
Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in the preceding paragraphs as if fully set forth herein.

28. Defendants, Peninsula Regional Medical Center, Peninsula Regional Health System, Inc.,

John R. l\/chean, l\/I.D. and John R. McLean, M.D. & Associates individually and through their actual

775~001/137845 10

Case 1:12-cv-02867-CCB Document 1 Filed 09/25/12 Page 11 of 18

and/or apparent agents, representatives and/or employees provided Plaintiff Julian Peacock with reports
that misstated and/or overstated the amount of coronary blockage.

29. Based on the misleading reports of coronary blockage Plaintiff Mr. Peacock allowed/
consented to coronary stenting and other cardiac procedures Had Plaintiff been aware of the
misstatements he would have declined the procedures

30. As a direct and proximate result of the above mentioned acts committed by the
Defendants, Plaintiff incurred medical expenses, including but not limited to: (a) cost of the
medical/surgical procedures and tests incurred and paid for by Plaintiff; (b) co-pays and deductibles paid
for by Plaintiff; (c) out-of-pocket costs for prescription and over-the-counter medications and durable
medical supplies; (d) costs of future medical expenses

31. As a direct and proximate result of the Defendants above mentioned deviations from the
applicable standards of care the Plaintiff, Julian Peacock, endured unnecessary, significant, traumatic
and painful medical procedures, treatment and care; suffered an extension of heart muscle damage; will
likely be caused to undergo additional si gnificant, traumatic and painful medical procedures, treatment
and care in the future; suffered an extension of heart muscle damage; was caused to endure physical and
emotional injury, trauma, upset and other injuries in the future; suffered economic losses including but
not limited to medical and other expenses, lost wages and earnings and other economic losses; and will
likely suffer future economic losses including but not limited to medical and other expenses, lost wages
and earnings and other economic losses in the future.

32. The injuries and damages complained of were directly and proximately caused by the
negligence and lack of care of Defendants, Peninsula Regional l\/Iedical Center and Peninsula Regional

Health System, lnc. The Plaintiff, in no way, contributed to the negligence, but however, relied upon

775-001/137845 11

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 12 of 18

the expertise of Defendants, Peninsula Regional Medical Center, Peninsula Regional Health System,

Inc., John R. McLean, M.D. and John R. McLean, l\/l.D. & Associates for his care and treatment

WHEREFORE, Plaintiff Julian Peacock brings this action against Defendants, Peninsula
Regional Medical Center, Peninsula Regional Health System, lnc., John R. McLean, M.D. and John R.
McLean, M.D. & Associates, jointly and/or severally, and seeks damages in excess of Thirty Thousand
Dollars ($30,000.00) that will adequately and fairly compensate him, costs, and such other and further

relief as may be deemed appropriate

COUNT III
Administrative Negligence/Negligent Privileging
(Against Peninsula Regional Medical Center
and Peninsula Regional Health System, Inc.)

Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in paragraphs 1 through 32 as if fully set forth herein.

33. Defendants, Peninsula Regional l\/Iedical Center and Peninsula Regional Health System,
lnc. through privileging, agreement or understanding with Dr. McLean provided him with the medical
facility and the assistance needed to perform the unnecessary and non-indicated procedures on Mr.
Peacock. Such privileging, agreement or understanding allowed the Defendants to benefit financially
from the unnecessary and non-indicated procedures

34. As a direct result of the privileging, agreement or understanding between the Defendants,
Mr. Peacock was subjected to significant, unnecessary and non-indicated traumatic and painful medical
procedures, treatment and care; will likely be caused to undergo additional significant, traumatic and

painful medical procedures, treatment and care in the future; was caused to endure physical and

emotional injury, trauma, upset and other injuries in the future; suffered economic losses including but

775-001/137845 12

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 13 of 18

not limited to medical and other expenses lost wages and earnings and other economic losses; and will
likely suffer economic losses including but not limited to medical and other expenses, lost wages and
earnings and other economic losses in the future

35. The injuries and damages complained of were directly and proximately caused by the
negligence and lack of care of Defendants The Plaintiff, in no way, contributed to the negligence, but

however, relied upon the expertise of Defendants for his care and treatment

WHEREFORE, Plaintiff Julian Peacock brings this action against Defendants, Peninsula
Regional l\/ledical Center and Peninsula Regional Health System, Inc., jointly and/or severally, and
seeks damages in excess of Seventy-Five Thousand Dollars ($75,000.00) that will adequately and fairly

compensate him, costs, and such other and further relief as may be deemed appropriate

COUNT IV
Fraud by Intentional Misrepresentation
(Against Peninsula Regional Medical Center
and Peninsula Regional Health System, Inc.)

Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in the preceding paragraphs as if fully set forth herein.

36. In the Spring of 2007, (believed to be on or about on or about l\/Iarch 7, 2007) when l\/Ir.
Peacock contacted Peninsula Regional Medical Center to inquire about the necessity of his cardiac
procedures he was told that his cardiac testing was appropriately interpreted and performed, and that the
medical testing and stenting procedures were necessary and performed within the standard of care

37. At the time that l\/lr. Peacock placed the call to the PRMC call center and spoke with the

PRMC employee, actual or apparent agent or representative she knew of the investigation into the

allegations that Dr. McLean was performing unnecessary cardiac testing and stenting procedures When

775-001/137345 13

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 14 of 18

a return call was made to Mr. Peacock by the PRMC employee, actual or apparent agent or
representative she made the false statements regarding Mr. Peacock’s care and treatment at PRMC to
intentionally conceal, and/or with reckless indifference to the truth, in order to mislead Plaintiff into
believing there was no need to have an independent review of his medical condition and/or medical care

38. Mr. Peacock justifiably relied on what the PRMC employee, actual or apparent agent or
representative told him. Mr. Peacock’s justifiable reliance was based on the Hospital holding itself out
to the community as a premier medical facility that provides superior clinical quality. As a result of his
justifiable reliance Mr. Peacock did not seek advice and counsel of other Health Care Providers
practicing in the field.

39. Because Mr. Peacock justifiably relied on the fraudulent information given to him, he did
not pursue further investigation either legal or medical into the cardiac care provided to him by
Defendants

40. As a result of the fraudulent information given to Mr. Peacock by an actual/apparent
agent, representative or employee of PRMC concerning the unwarranted and unnecessary cardiac testing
and procedures Mr. Peacock was not, and could not be aware that the medical care that he received at
the hands of the Defendants was unwarranted, unnecessary and negligent, therefore, Mr. Peacock was
not aware that he was entitled to redress

41. The injuries and damages complained of were directly and proximately caused by the
fraudulent misrepresentations of the Defendants, Peninsula Regional Medical Center and Peninsula
Regional Health System, lnc. The Plaintiff in no way contributed to the fraud that Was perpetrated upon

him.

775-001/137845 14

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 15 of 18

WHEREFORE, Plaintiff Julian Peacock brings this action against Defendants, Peninsula
Regional Medical Center and Peninsula Regional Health System, Inc., jointly and/or severally, and
seeks compensatory damages in excess of Seventy-Five Thousand Dollars ($75,000.00) that will
adequately and fairly compensate him, punitive damages, costs, and such other and further relief as may

be deemed appropriate

COUNT V
Negligent Retention and Supervision
(Against Peninsula Regional Medical Center
and Peninsula Regional Health System, Inc.)

Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in the preceding paragraphs as if fully set forth herein.

42. Defendant PRMC has a duty to use reasonable care when granting privileges to those
Defendants who will practice at their facility. PRMC owed such duty to Mr. Peacock and upon
information and belief the duty was breached when it failed to ensure that Dr. McLean was competent to
perform the duties for which he was privileged

43. Had Defendant PRMC performed the required oversight it would have known that Dr.
McLean was not fit to perform the duties for which he was privileged and was likely to perform
negligent or fraudulent acts

44. Defendant PRMC breached its duty to use reasonable care in conducting oversight
reviews of Dr. McLean thus causing Mr. Peacock to suffer unwarranted and unnecessary cardiac testing
and procedures insuring that he will likely be caused to undergo additional significant, traumatic and

painful medical procedures treatment and care in the future; was caused to endure physical and

emotional injury, trauma, upset and other injuries in the future; suffered economic losses including but

775~001/137845 15

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 16 of 18

not limited to medical and other expenses lost wages and earnings and other economic losses; and will
likely suffer economic losses including but not limited to medical and other expenses, lost wages and
earnings, and other economic losses in the future

45. The injuries and damages complained of were directly and proximately caused by the
negligence and lack of care of Defendants, Peninsula Regional l\/ledical Center and Peninsula Regional
Health System, lnc. The Plaintiff, in no way, contributed to the negligence, but however, relied upon
the expertise of Defendants, Peninsula Regional Medical Center and Peninsula Regional Health System,

Inc.

WHEREFORE, Plaintiff Julian Peacock brings this action against Defendants, Peninsula
Regional Medical Center and Peninsula Regional Health System, Inc., jointly and/or severally, and
seeks damages in excess of Seventy-Five Thousand Dollars ($75,000.00) that will adequately and fairly

compensate him, costs, and such other and further relief as may be deemed appropriate

COUNT VI
Loss of Consortium
(Against All Defendants)
Plaintiff Julian Peacock, in his individual capacity, hereby reasserts and incorporates by
reference the allegations contained in the preceding paragraphs as if fully set forth herein.
46. At all times relevant Plaintiffs have been husband and wife
47. As a direct and proximate result of the injuries and damages caused to Plaintiff Julian

Peacock by the negligence of Defendants, Peninsula Regional Medical Center, Peninsula Regional

Health System, Inc., John R. McLean, M.D. and John R. McLean, M.D. & Associates, the Plaintiffs

775-001/137845 16

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 17 of 18

assert that their marriage and marital relationship was severely interrupted and significantly damaged,
and continues to be interrupted and damaged.
48. Plaintiffs Julian Peacock and Denise Peacock in no way contributed to the negligence
WHEREFORE, Plaintiffs Julian Peacock and Denise Peacock bring this action against
Defendants, Peninsula Regional l\/[edical Center, Peninsula Regional Health System, Inc., John R.
McLean, M.D. and John R. McLean, M.D. and Associates, jointly and/or severally, and seek damages in
excess of Seventy-Five Thousand Dollars ($75,000.00) that will adequately and fairly compensate them,

costs, and such other and further relief as may be deemed appropriate

 

 

Wiriiam H. th§/, J.r. ~ Bar NO. 07985
billy.murphy@mfmrk.com

Richard V. Falcon ~ Bar No. 01739
richard.falcon@mfmrk.com

l\/lary l\/lcNamara Koch - Bar No. 26591
mary.koch@mfmrk.com

Pamela J. Diedrich ~ Bar. No. 26555
pam.diedrich@mfmrk.corn

Murphy, Falcon & Murphy

One South Street, 23rd Floor

Baltimore, Maryland 21202

Tel: 410-951-8744

Fax: 410-539-6599

Attorneysfor Plaintist

775-001/137845 17

il

Case 1:12-cv-O2867-CCB Document 1 Filed 09/25/12 Page 18 of 18

DEMAND FOR JURY TRIAL

The Plaintiffs hereby request that the above-captioned matter be tried before a jury.

\ w ….R“\`

Parirela J.\Djfddrich

775-001/137845 18

